       Case 2:16-cv-00287-cr Document 310 Filed 09/01/20 Page 1 of 1
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                                                                                  o~sI ~!   cf K:itf;~th
                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF VERMONT


 STITTS, et al.,
                   Plaintiffs,
 V.                                                     No. 2: l 6-cv-00287-cr
 DAIRY FARMERS OF AMERICA , INC., et
 al.,
                   Defendants.




                                                       ORDER
                      ·li,,
       AND NOW, this ~ day of          6, ...fl.-. , 2020, upon consideration of the Motion for Admission
Pro Hae Vice of David L. Johnson in the above-captioned matter, it is hereby ORDERED that said motion

is GRANTED.



                                               BYTHE~~


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                                               Christina Reiss, District Judge
                                               United States District Court
